             Case 1:20-cv-00104-CRC Document 10 Filed 05/18/20 Page 1 of 3




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA




John H. Page                                                  )
1077 30th Street NW                                           )
Apt. 411                                                      )
Washington, D.C. 20007                                        )
Tel: 202 352 6952                                             )
                                                              )     Case No.
Plaintiff                                                     )     1:20-cv-00104 CRC
                                                              )
v.                                                            )
                                                              )
 Donald J. Trump, in His Official                             )
 Capacity as President of the United                          )
 States, Office of the President                              )
 1600 Pennsylvania Avenue, N.W.                               )
 Washington, D.C. 20500                                       )
                                                              )
                                                              )
            Defendant


                  OPPOSITION TO DEFENDANT’S MOTION TO DISMISS

        1.       Plaintiff files this Opposition under Local Rule 7(b) with the required memorandum

of points and authorities and proposed Order.

        2.       Defendant’s motion to dismiss (the “Motion”) is made under Federal Rules of Civil

Procedure 12(b)(1) and 12(b)(6).

        3.       Defendant’s Motion does not contest that Plaintiff has suffered injury (Section IV

page 18 of the Motion), so that fact is not in dispute.



                                                      1
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       4.       Facts: Defendant’s Motion under Federal Rules of Civil Procedure 12(b)(1) fails to

meet the burden of showing that the plaintiff cannot prove any set of facts in support of his claim

that would entitle plaintiff to relief. See Plaintiff’s Memorandum in support of Opposition to

Defendant’s Motion to Dismiss.

       5.       Justiciability: Defendant’s Motion under Federal Rules of Civil Procedure 12(b)(6)

fails to show that the relief requested cannot be granted. See Plaintiff’s Memorandum in support

of Opposition to Defendant’s Motion to Dismiss.

       6.       A proposed Order follows.




May 18, 2020
Respectfully submitted,

/John H. Page/
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Washington, D.C. 20007
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                                                              )
                                                              )
                                                              )
                                                              )
 Defendant                                                    )
                                                              )



                                       [PROPOSED] ORDER

Upon consideration of Plaintiffs Opposition to Defendant’s Motion to Dismiss and the entire record
herein, it is hereby:

ORDERED that Plaintiff’s Opposition to Defendant’s Motion to Dismiss is GRANTED; and it is

FURTHER ORDERED that Defendant’s Motion to Dismiss is DISMISSED with prejudice

________________                             ______________________________
Date                                         United States District Judge


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